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Civil Action No. 4:23cv377

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any) OnePlus Technology (Shenzen) Co., Ltd. was received by me on
(date) May 11, 2023, 11:22 am.

I personally served the summons on the individual at (place) on (date)

5 or
I left the summons at the individual’s residence or usual place of abode with (name) ,a
person of suitable age and discretion who resides there, on (date) , and mailed a copy to

the individual’s last known address; or

I served the summons on (name of individual) Fai Kongchai , who is designated by law to accept service of process
on behalf of (name of organization) OnePlus Technology (Shenzen) Co., Ltd, on (date) Wed, May 17 2023 ; or

HOH OC

I returned the summons unexecuted because: :or
Other: ; or
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 05/17/23

Server's signature
Gean Smith

Printed name and title

6501 Independence Pkwy # 7105, Plano, TX 75023

Server's address

Additional information regarding attempted service, ete.:

1) Successful Attempt: May 17, 2023, 11:30 am CDT at C/O OnePlus USA Corp.: 5000 Riverside Dr Bldg. 5, Irving, TX 75039
received by Fai Kongchai. Age: 50; Ethnicity: Caucasian; Gender: Female; Weight: 150 Ibs; Height: 5'5"; Hair: Black;
Relationship: Admin/Authorized to Accept;

DOCUMENTS SERVED: SUMMONS IN A CIVIL ACTION; ORIGINAL COMPLAINT FOR PATENT INFRIN GEMENT;
CIVIL COVER SHEET; EXHIBITS A-H
